Case: 4:17-cv-02455-CDP Doc. #: 69 Filed: 12/11/17 Page: 1 of 4 PageID #: 1137
                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

MALEEHA S. AHMAD, et al.,                         )
                                                  )
           Plaintiffs,                            )
                                                  )
      v.                                          )     No. 4:17-CV-02455-CDP
                                                  )
ST. LOUIS, MISSOURI, CITY OF,                     )
                                                  )
           Defendant.                             )
                                                  )

                         NOTICE OF APPOINTMENT OF NEUTRAL

      Upon selection by parties, pursuant to the procedures outlined in E. D. Mo. L. R. 6.03,

the Clerk of the court hereby notifies
       Name of Neutral/Firm:       ROGER L. GOLDMAN
       Firm Address:               Saint Louis University School of Law
                                   3700 Lindell Blvd. St. Louis, MO 63108
       Email:                      roger.goldman@slu.edu

that he has been appointed to serve as Neutral in the above-styled action to conduct mediation.

      This appointment shall remain effective until the Neutral notifies the Court in writing that

the referral has been concluded.

      The Attorneys of Record in this case are:
                  Lead Counsel:  Anthony E. Rothert (for pla)
                                 AMERICAN CIVIL LIBERTIES UNION OF MISSOURI
                                 FOUNDATION
                                 906 Olive St.
                                 Suite 1130
                                 St. Louis, MO 63101-1448
                                 Ph: 314-669-3420 FAX: 314-652-3112
                  Other Counsel: H. Anthony Relys (for dft)
                                 ST. LOUIS CITY COUNSELOR'S OFFICE
                                 1200 Market Street
                                 Room 314
                                 St. Louis, MO 63103
                                 Ph: 314-622-4083 FAX: 314-622-4956
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      The completion deadline for this ADR referral is February 1, 2018. The neutral shall

file an ADR Compliance Report within 14 days after the ADR referral is concluded.

      The Neutral is directed to ascertain and to disclose to the parties any grounds that might

exist which would require disqualification pursuant to 28 U.S.C. § 455.


December 11, 2017.                                  Gregory J. Linhares
Date                                                Clerk of Court

                                             By:    /s/ Erica Brown
                                                    Deputy Clerk
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
MALEEHA S. AHMAD, et al.,                       )
                                                )
        Plaintiff(s),                           )
                                                )
   v.                                           )      Case No. 4:17-CV-02455-CDP
                                                )
ST. LOUIS, MISSOURI, CITY OF,                   )
                                                )
        Defendant(s).                           )
                                                )

         ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT
                 Complete one option and file this report with the Clerk's Office
                                            Option 1
         The neutral elects to extend the deadline for completing ADR for 14 days and will
         continue efforts to assist the parties in reaching a settlement. Revised completion
         deadline: _____________. Such an election by the neutral is permitted once during the
         span of a mediation in a single case. If the parties require more time to complete
         mediation, lead counsel must file a motion with the Court.
                                            Option 2
         An ADR conference was held on: __________________________________.
         All required individuals, parties, counsel of record, corporate representatives, and/or
         claims professionals attended and participated in the ADR conference(s) in good faith,
         and each possessed the requisite settlement authority;
         The following individuals, parties, counsel of record, corporate representatives, and/or
         claims professionals failed to appear and/or participate in good faith as ordered:
         ______________________________________________________________.

         The ADR referral was concluded on ____________________________.
         The parties [□ did □ did not] achieve a settlement. Check one
                                            Option 3
         Although this case was referred to ADR, a conference WAS NOT HELD.

              Date: ____________________         Neutral: _____________________________
                                                           ROGER L. GOLDMAN
                                                           Signature
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION
MALEEHA S. AHMAD, et al.,                            )
                                                     )
         Plaintiff(s),                               )
                                                     )
    v.                                               )      Case No. 4:17-CV-02455-CDP
                                                     )
ST. LOUIS, MISSOURI, CITY OF,                        )
                                                     )
         Defendant(s).                               )
                                                     )

 EMAIL ADDRESS FORM FOR PARTIES WHO PARTICIPATED IN AN ALTERNATIVE DISPUTE
                          RESOLUTION CONFERENCE

                     PLEASE DO NOT FILE THIS FORM THROUGH CM/ECF

                                           YOU MAY EITHER:

              1) SEND THE EMAIL ADDRESSES IN AN EMAIL DIRECTLY TO; OR

                                       2) EMAIL THIS FORM TO:

                                 Betty Ann Skrien, Executive Assistant at:

                                 Betty_Ann_Skrien@moed.uscourts.gov

Please provide the email addresses of parties participating in the ADR conference. The participants will
be sent an email with a link to a brief (5 minute), anonymous survey. A participant is defined as a plaintiff,
defendant, insurance representative, in-house counsel or corporate representative. Counsel of record need
not provide name and email address.

Name (printed):                                               Email address:

___________________________________                 ___________________________________
___________________________________                 ___________________________________
___________________________________                 ___________________________________
___________________________________                 ___________________________________
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___________________________________                 ___________________________________
___________________________________                 ___________________________________
___________________________________                 ___________________________________

              Date______________ Neutral_______________________________________
